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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Case No.:




  In re: Government Seizure of ICX Tokens




          MARK SHIN’S MOTION PURSUANT TO FED. R. CRIM. P. 41(g) AND
         THE FIFTH AMENDMENT TO THE UNITED STATES CONSTITUTION
       FOR THE RETURN OF PROPERTY OR FOR A PROBABLE CAUSE HEARING
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                                     I.     INTRODUCTION

         In November 2020, the United States government obtained approximately twelve seizure

  warrants from a magistrate judge in this District and through those warrants began the process of

  seizing millions of dollars’ worth of crypto-assets held or controlled by Mark Shin. There was no

  lawful basis for this seizure, as the seized crypto-assets belonged to Shin and were not proceeds

  of any federal crime. Indeed, Shin still has not been charged with a crime, and the prosecutors

  handling this matter have not identified any criminal statute that he transgressed. Shin’s property

  nevertheless remains locked up in FBI crypto-wallets, and his due process right to challenge the

  government’s seizures have fallen by the wayside. Shin thus brings this action.

         The crypto-assets at issue stem from Shin’s acquisition of a significant number of ICX

  tokens, the native crypto-asset of the ICON blockchain. The ICON Foundation (“ICON”)

  designed and issued ICX tokens and created the ICON blockchain. On August 22, 2020, shortly

  after ICON released and implemented a software update to the ICON network, the Revision 9

  Proposal, Shin discovered a bug in the software that allowed him to use previously acquired ICX

  tokens to generate newly minted ICX tokens at a faster rate than others. Shin did not hack the

  ICON network, modify any of its source code, or exceed the authorization that the network

  affords all participants. He acted lawfully and according to the rules of ICON’s network. In

  addition, as ICON has conceded, the newly minted ICX tokens did not belong to anyone else

  when Shin acquired them.

         In response to discovering that it had released a bug into its own network, ICON targeted

  Shin as a scapegoat to distract from its own culpability. ICON publicly branded Shin a

  “malicious attacker” who had “stolen” the ICX. ICON worked with various exchanges and

  networks to freeze his crypto-assets. ICON even threatened to report Shin to law enforcement




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  unless he turned over the newly minted ICX to ICON. Shin refused to cave to ICON’s

  extortionate threats; in fact, Shin brought suit against ICON in federal court in the Northern

  District of California, demanding that ICON unfreeze his crypto-assets.

            ICON persisted, however, and evidently made good on its threat to invoke the criminal

  justice system to solve what should have been a civil dispute over who owned and owns the

  newly minted ICX. The federal government then stepped in, and by believing ICON’s false

  statements regarding Shin’s conduct—which statements his publicly filed complaint shows to be

  false—leveraged the power of the Department of Justice to seize the ICX for itself. Accordingly,

  pursuant to Fed. R. Crim. P. 41(g) and the due process clause of the Fifth Amendment of the

  United States Constitution, Shin seeks the return of his property that the government unlawfully

  seized.

                                II.     FACTUAL BACKGROUND

            A.     Overview of Crypto Assets1

            Crypto-assets are digital assets that employ cryptographic principles to secure

  transactions, control the creation of additional units, and verify their transfer. Bitcoin was the

  world’s first major crypto-asset, and it is also the largest and most popular crypto-asset. The core

  feature of Bitcoin—and nearly every other crypto-asset—is a public ledger, called a blockchain,

  that tracks the ownership and transfer of the crypto-asset.

            Since the creation of Bitcoin, the number of crypto-assets have grown dramatically, and

  there are now more than 8,000 crypto-assets, one of which is ICX, a token created and used by

  the ICON Network. The creators of these new crypto-assets have decided, in many instances, to


  1
    Except where otherwise noted, sections A through D of this Factual Background are primarily
  taken from the Amended Complaint in the related civil case filed in federal court in the Northern
  District of California, attached hereto as Exhibit A. See Amended Complaint, Shin v. ICON
  Foundation, 20-CV-07363-WHO, ECF No. 28 (N.D. Cal. 2021).



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  deviate from core features of Bitcoin by creating crypto-assets that work in numerous different

  ways and serve different purposes and markets, distinguishing themselves through: a degree of

  decentralized governance (i.e., no central authority dictates which transactions are authorized); a

  degree of supply management (i.e., what circumstances additional tokens will be generated and

  to whom they will be given); and a mechanism for verifying the blockchain.

         Bitcoin maintains its blockchain and provides for new bitcoin to enter the economy

  through a consensus mechanism known as “mining,” or “proof of work.” Individuals “mine”

  bitcoin by having sophisticated computer programs perform complex, resource-intensive

  automated verifications of past transactions, which are then added to the blockchain. Other

  crypto-assets, such as ICX, use a mechanism called “proof of stake.” This mechanism provides

  new currency to those who already own that currency in proportion to their ownership (not

  dissimilar to an interest bearing account). Under the proof-of-stake consensus mechanism,

  individuals must “stake” their crypto-assets to be eligible to receive newly minted tokens. Issuers

  of some crypto-assets impose rules on staking, such as (1) requiring minimum amounts; (2)

  imposing a minimum staking period; and (3) imposing requirements on when an individual can

  “unstake” their tokens to allow them to be freely traded again.

         The rules governing crypto-asset networks, like many software applications, sometimes

  need to be updated, which is complicated because typically there is no centralized authority

  responsible for releasing software updates. Accordingly, for crypto-assets, software updates

  occur in the form of what is called a “software fork.” For many, software forks get implemented

  through a voting mechanism from “full node users.” A node is a computer that connects to a

  crypto-asset network. “Full nodes” enforce all of the rules of the network.




                                                   5
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         B.      Overview of ICON and the ICON Network

         ICON, a subsidiary of a Korean Fintech company valued at $4 billion, founded the ICON

  network in 2017. See Exhibit B (“Could This Blockchain In Korea Be The First To Connect An

  Entire Country?”). On August 15, 2017, ICON issued its draft whitepaper, which outlined the

  conceptual framework of the ICON protocol. See Exhibit C (Whitepaper). The ICON whitepaper

  stated that ICON “essentially aims for decentralized governance.” Id. at 21. (last visited on May

  10, 2021).

         ICON designed ICX to be a decentralized token that would “eradicate boundaries that

  have been existed [sic] in the centralized system.” Id. at 7. The benefit of this decentralized

  system, ICON claimed, was that “[t]ransactions on the ICON Network are verified by a ledger

  shared within the community network itself, not controlled by a centralized authority.” Id.

  (emphasis added). To achieve this promised decentralization, ICON incentivizes its users to run

  full nodes that themselves are comprised of community Public Representatives (“P-Reps”). The

  P-Reps can change the policies of the various nodes or communities of which they are part.

  Through their voting power, P-Reps determine when to update the code underlying the ICON

  network and help contribute to the overall ICON ecosystem by developing new apps or new

  features for the code.

         ICX was designed as a proof-of-stake crypto-asset, where users stake their ICX tokens

  towards other P-Reps. Each ICX token is worth one vote, and thus ICX owners can “vote” for

  other users to become P-Reps. Those P-Reps then set policies for the overall ICX platform.

  Users can also transfer their delegated tokens from one P-Rep to another P-Rep. Staking is not

  costless; staking an ICX token removes it from circulation. This mechanism gives those with the

  most ICX tokens more control over the network, but it requires them to have a stake in that

  network. Staked ICX can be unstaked, allowing them to be transferred again, but the ICON



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  network requires time to process the unstaking request. In order to transfer staked ICX, a user

  must unstake them, which takes between five to twenty days. The unstaking period is determined

  by the total amount of staked ICX in the entire system. Once staked, a user can then “delegate”

  their staked ICX to a specific P-Rep by executing a function called “SetDelegation.”

         Staking ICX thus has a significant opportunity cost. In order to compensate staked users

  for this cost, the ICON protocol provides staked ICX holders with newly generated ICX. This

  newly generated ICX is not transferred from ICON or another user. It is generated at the time it

  is issued directly to the staked ICX holder. This system encourages users to engage with the

  ICON protocol and develop it, as those who do so are rewarded with additional ICX.

         C.      Mark Shin and ICX Tokens

         Shin became interested in the ICON network in 2017 and ended up purchasing more than

  250,000 ICX tokens. As of August 22, 2020, he had staked more than 150,000 ICX tokens. Shin

  acquired these tokens on popular centralized crypto-exchanges such as Binance, Kraken, and

  Velic. In acquiring these tokens, Shin never agreed to any terms of service or other contract with

  ICON. Indeed, as a decentralized crypto-asset network, ICON has no terms of service.

         ICON, like other issuers of crypto-assets, updates its code through the use of software

  forks, which it refers to as “network proposals.” As ICON’s senior leadership recognized,

  however, ICON at times rushed out its “network proposals” without thoroughly de-bugging the

  software. See Exhibit D (Twitter post). On July 27, 2020, ICON’s founder, Min Ho Kim wrote

  on Twitter about a previous “bug/error” (unrelated to the bug at issue here) that ICON introduced

  into the network. Min wrote that ICON took “full responsibility for this [bug] and [will] cover

  any damage.” Kim continued: “Bugs are part of dev process. We’ve recently seen that even big

  co’s like Twitter w more engineers + resources make mistakes … At ICON, we try to balance




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  speed (shipping codes) based on our risk assessment. In other words, we prefer to move fast and

  break things if we can afford it.” Id. at 1.

          In August 2020, just weeks after Kim’s comments about “moving fast” and “break[ing]

  things,” ICON released the “Revision 9” network proposal. On August 13, 2020, Revision 9 was

  approved by 16 of the 22 ICON P-Reps and adopted into the ICON network. On August 22,

  2020, Shin attempted to direct some of his staked ICX tokens from being delegated to one P-Rep

  to being delegated to another through his ICON wallet. He selected a new P-Rep and “voted” his

  staked tokens toward that P-Rep. After initiating the redelegation process within ICON, a

  process he had performed many times before, Shin noticed that 25,000 new ICX tokens had

  appeared in his wallet. Shin thought that there was a visual bug with the wallet software. He tried

  redelegating his tokens again and saw that another 25,000 ICX tokens had appeared in his wallet

  (“Revision 9 Bug”). Shin did nothing to access or alter or hack into the underlying ICON

  network protocol.2

          Shin’s process is demonstrated below. At the outset, the wallet at issue had minimal ICX

  that could be transferred.




  2
    In the related civil lawsuit, ICON’s motion to dismiss claims that at one point Shin “was
  blocked” from generating ICX Tokens through the Revision 9 Bug, and as a result, Shin “took
  steps to change his [own] computer’s identifying information” so as to “continue generating”
  ICX. Dkt. 36 at 20-CV-07363-WHO. This allegation is false; indeed, neither ICON nor the
  government has produced any even purported evidence that this occurred. In addition, it is
  entirely unclear how, in a decentralized system with no central governing body, ICON could
  block any computer from generating ICX. To the extent that the government has obtained
  records of Shin’s Internet Protocol (IP) addresses on August 22, 2021, which purport to show
  multiple IP addresses, it bears emphasis that most IP addresses used by residences in the United
  States are “dynamic” and thus automatically change at the direction of the internet service
  provider (ISP). See, e.g., https://techgenix.com/static-ip-address-vs-dynamic-ip/.



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         To initiate the redelegation process, Shin selected his delegated ICX (i.e., the staked ICX

  designated towards a P-Rep):




         Shin then input that he wished to redelegate these tokens (selecting the P-Rep Rhizome):




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        The system prompted Shin to confirm that he intended to redelegate those tokens:




        After doing so, Shin found that his wallet now had 25,000 new tokens:




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         Shin continued to repeat the process. By the end of the day, he had received

  approximately 14 million ICX tokens from the ICX protocol. Shin’s actions were not malicious;

  rather, he engaged with the ICON Network exactly as permitted by the authors and developers of

  the Revision 9 Proposal. Further, Shin was not the only person to have discovered this bug;

  ICON itself stated that six million other ICX have been minted through this process, and many

  of the wallets who have benefited from the Bug appear to be associated with individuals close to

  the ICON leadership who took advantage of the Bug prior to Shin.

         D.      The Revision 9 Bug Aftermath

         After accumulating the ICX tokens, Shin transferred a significant portion of the newly

  minted ICX tokens to Kraken and Binance—two of the largest crypto-asset exchanges. A few

  hours later, Shin learned that he could no longer transfer any of his ICX tokens. This was

  because ICON had contacted Kraken and Binance and directed them to freeze Shin’s accounts,

  which they did. ICON informed Kraken and Binance that Shin was a “malicious attacker” and

  that the ICX tokens Shin transferred to their exchanges were “stolen.”




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         Less than a day later, on August 24, 2020, ICON wrote in a Medium post that

  “[e]xchanges were notified with [Shin’s] accounts to freeze and to disable deposits and

  withdrawals.” In that same post, ICON falsely called Shin a “malicious attacker” and referred to

  his ICX tokens as “stolen funds.” See Exhibit E (August 24, 2020, Medium post). Binance and

  Kraken froze Shin’s accounts based on these false statements. Other individuals familiar with

  ICON’s system knew that these attacks on Shin were false. One P-Rep publicly commented on

  Reddit3:




         In another comment, a P-Rep publicly stated that the ICON Network would not have

  been materially impacted by Shin’s newly minted ICX4:




  3
    Available at
  https://www.reddit.com/r/helloicon/comments/jhvppq/questions_about_the_recent_lawsuit_vs_ic
  x/gaynz39?utm_source=share&utm_medium=web2x&context=3.
  4
    Available at
  https://www.reddit.com/r/helloicon/comments/jhvppq/questions_about_the_recent_lawsuit_vs_ic
  x/ga2l7x4?utm_source=share&utm_medium=web2x&context=3.




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           ICON nevertheless continued to malign Shin, with a senior ICON employee committing

  a textbook case of extortion by repeatedly threatening to “involve law enforcement” and move

  “forward with law enforcement” if Shin did not kowtow to ICON’s demands and return the ICX

  Shin received through ICON’s faulty Revision 9 network proposal, even after Shin explained to

  this employee that his receipt of the ICX “was not the result of an intentional exploit, malicious

  hack, or any other illegal or prohibited activity.”5 Exhibit F (Twitter exchange). On August 24,

  2020, ICON released another software fork proposal (the “Revision 10 proposal”) that sought to

  correct the bug that Shin and others had discovered.6

           E.     Shin’s Civil Suit in Federal Court in the Northern District of California

           Given that ICON had taken action to freeze Shin’s ICX, both by falsely telling the

  crypto-exchanges that Shin was a “malicious attacker” who transferred to their exchanges


  5
    The employee who threatened Shin, an individual named Ricky Dodds, maintains a “LinkedIn”
  page that suggests he lives in Florida. See https://www.linkedin.com/in/ricky-dodds-65a73169
  (last visited on May 10, 2021). Chapter 836.05 of the Florida criminal code provides: “Whoever,
  either verbally or by written or printed communication, maliciously threatens to accuse another
  of any crime or offense … with intent to compel the person so threatened, or any other person, to
  do any act or refrain from doing any act against his or her will, shall be guilty of a felony of the
  second degree.”
  6
      https://medium.com/helloiconworld/network-update-revision-10-b0ce0bd68cbe.




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  “stolen” ICX, and by releasing a software fork (Revision 10) that further disabled Shin’s ability

  to use his ICX tokens, on October 20, 2020, Shin sued ICON in federal court in the Northern

  District of California. See Complaint, Shin v. ICON Foundation, 20-CV-07363-WHO, ECF No.

  28 (N.D. Cal. 2021), Exhibit G (initial complaint). Shin sought a declaratory judgment that the

  ICX obtained as a result of the Revision 9 Bug belonged to him, and he also filed claims for

  conversion, trespass to chattel, defamation and prima facie tort. All the claims relate to ICON’s

  interference with Shin’s ability to control his own ICX, as well as to ICON’s false statements to

  various crypto exchanges and on Medium that described him as an “attacker” who “stole” ICX.

         ICON filed a motion to dismiss the lawsuit and in its briefing, never claimed ownership

  over the ICX tokens issued as a result of the Revision 9 Bug. On April 28, 2021, Judge William

  Orrick held oral argument on the motion, and during this oral argument, as pertinent here, ICON

  formally conceded that it did not own the ICX created by the Revision 9 Bug, and in fact,

  believed that no one owned those ICX tokens(see Exhibit H (excerpts from transcript of Apr. 28,

  2021 argument)):

      ICON                    He [Shin] generated 14 million new tokens. He knew exactly
      (Defense                what he was doing; and because those were minted out of the
      Counsel):               ether, the effect of those new tokens was to dilute the holdings
                              of every other ICON ICX holder at the time. So --

      Judge Orrick:           On that narrow question, is it then your client’s position that you
                              are -- that it is he owner or that no one is the owner because they
                              are misappropriated, miscreated, whatever word you want to
                              use?

      ICON                    It’s certainly not our position that those 14 million ICX belong
      (Defense                to the [ICON] Foundation. They don’t. Those 14 million tokens
      Counsel):               ought to be destroyed. To the extent -- to the extent that they’re
                              not destroyed, they ought to come back for the benefit of
                              everyone who held ICX at the time of Mr. Shin’s exploit.




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  Counsel for ICON thus conceded that Shin did not take or steal the ICX tokens from anyone and,

  at minimum, no one, including ICON, owned the ICX token that resulted from the Bug. Instead,

  these tokens had simply been “minted out of the ether.”7

         F.      The Federal Seizure Warrants to Seize ICX Tokens

         ICON evidently made good on its unlawful threats to “involve law enforcement” in order

  to wrest control of the ICX Tokens from Shin. On or about November 17, 2020, nearly a month

  after Shin publicly sued ICON and filed a detailed complaint outlining ICON’s misconduct,

  federal prosecutors in Colorado sought and obtained from Magistrate Judge Kristen L. Mix

  twelve seizure warrants targeting crypto-assets held by Shin personally and on accounts at the

  following crypto-exchanges: Binance US, Coinbase, Gemini, Kraken, Velic, Kucoin, BitMax.io,

  Odex, HitBtc.com and IDEX.8 See Exhibit I (warrant list).

         Shin has not been provided with copies of all of the signed warrants or the the affidavit(s)

  filed in support of the warrants. Instead, Shin has been provided with copies of five of the signed

  warrants, which have consisted of the signed AO 109 form plus an Attachment A. See Exhibit J

  (warrant copies). Neither the warrants that have been provided nor the Attachment A forms

  specify what crime(s) Shin allegedly committed or whether the warrants were issued pursuant to

  the civil or criminal forfeiture statutes. On May 11, 2021, after significant prodding, the


  7
    On May 11, 2021, in the related civil action, the Court granted ICON’s motion to dismiss
  without prejudice for Shin to amend his allegations. See 20-CV-07363-WHO (N.D. Ca.) at Dkt.
  57 (attached hereto as Exhibit U). Most relevant here, in discussing Shin’s claims for conversion
  and trespass to chattel, the Court concluded that he had properly pleaded that ICON substantially
  interfered with his property rights by taking action to prevent him from using and accessing the
  ICX tokens he gained through ICON’s bug. See id. at 15-19. The Court granted Shin leave to
  replead those claims to allege facts responsive to certain technical issues, which Shin plans to do
  within the requisite 20-day period.
  8
   See 20-MC-00202-KLM through 20-MC-00211-KLM, 20-MC-00213-KLM and 20-MC-
  00214-KLM. In 2021, an additional warrant was obtained for the Binance.us exchange. See 21-
  SW-00004-MEH.



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  government provided Shin’s counsel with seven search warrant returns, specifying the crypto-

  assets and fiat currency seized by the government from certain exchanges.

         The warrants themselves are nearly identical, with each commanding the seizure of “[a]ll

  identified cryptocurrency held in the wallet addresses at [the exchange or with Shin] described in

  Attachment A.” Attachment A, in turn, sets forth the specific exchanges, the location of the

  exchange, the wallet address, the form of crypto-assets to be seized, and the amount of crypto-

  assets to be seized. No other details are provided.

         Shortly after the warrants were issued, Special Agent Travis Wall of the Federal Bureau

  of Investigation (“FBI”) began serving the seizure warrants on various exchanges. See Exhibit K

  (FBI letter). Agent Wall appears to have sent the exchanges copies of the warrants and a cover

  letter. Instead of directing the exchanges to provide the amount of crypto-assets specified in the

  Attachment A to the FBI’s wallets, the cover letter crafted by the FBI instead directed the

  exchanges to “liquidate the cryptocurrency wallet/address listed in the attached Federal Seizure

  Warrant” and send the funds to specific crypto-asset wallets held by the FBI. In short, rather than

  conforming the letter to the terms of the Magistrate’s warrants, which listed specific amounts of

  crypto-assets, the FBI demanded that the exchanges turn over the entire accounts.

         Multiple exchanges followed the FBI’s order and liquidated the entire accounts, which

  resulted in a significant overcollection of crypto-assets by the government. As an example, the

  warrant signed by Judge Mix authorized the government to seize approximately 17 BTC from

  the Gemini crypto exchange. See Exhibit J at 5-6. Instead, the government received from Gemini

  the following crypto-assets and fiat currency: 25 ETH, 6.5 BTC, 100,000 REN and $12,030. See

  Exhibit L at 5 (email exchange with government). As another example, the warrant signed by

  Judge Mix authorized the government to seize 0 ICX from the Velic exchange. Exhibit J at 5. On




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  April 4, 2021, Velic sent 100,101 ICX to the government, and the search warrant return for Velic

  indicates that an additional 13 ETH were seized as well. See Exhibit M (FBI ICX account);

  Exhibit R (Velic warrant return). As a final example, the original Binance.US warrant authorized

  the government to seize approximately 0.36 ICX. Exhibit J at 4. Instead, the government seized

  20,167 ICX on December 8, 2020. See Exhibit L at 5 (email exchange); Exhibit S (warrant

  return).9 Shin was able to discover these Fourth Amendment transgressions not through the

  government search warrant returns, only some of which he just received,10 but instead through

  his own due diligence in mapping the publicly available cryptocurrency deposits into the FBI

  wallets described in the FBI’s cover letter.11




  9
    In March 2021, the government seized the following additional fiat currency and crypto-assets
  from Binance.US: $212,383, 4.153.39 LNK, 120,826.75 XRP, 179.22 BNB, 4.805.15 XTZ,
  105,960 ADA, 37.90 BTC and 591.55 ETH. Although the government has claimed to have
  obtained a second warrant for Binance.US sometime in 2021 (see Exhibit L at 5), Shin has not
  been provided with a copy of that warrant or the affidavit submitted for the warrant. See 21-SW-
  00004-MEH.
  10
     On May 6, 2021, the government informed defense counsel that it had moved to unseal the
  search warrant returns, and on May 11, 2021, the government provided seven returns to counsel.
  On first glance, the search warrant returns confirm the over-collection of the crypto-assets and
  also appear to be riddled with errors. For example, the Binance.US return (Exhibit S) states that
  it was executed on November 17, 2020, via email, and that Binance.US complied with the
  warrant on December 8, 2020. However, the case number listed on the return is 21-SW-0004-
  MEH, which indicates that the warrant was obtained in 2021 (months later). Further, a second
  Binance.US return, also purportedly executed on November 17, 2020, shows a much larger
  seizure of crypto-assets and fiat currency. See Exhibit T (warrant return). As another example,
  with respect to the warrant issued to Velic, a crypto-asset exchange, the warrant states that a
  copy of the warrant and inventory was left with “Mark Minsuk Kim” and that the inventory was
  made in the presence of “Mark Minsuk Kim.” First, the claimant’s name is “Mark Minsuk Shin,”
  not “Mark Minsuk Kim,” and second, the inventory was not made in Shin’s presence. In fact,
  Shin was not provided with a copy of the return until May 11, 2021, nearly five weeks after
  Velic sent the government the crypto-assets listed on the return.
  11
    On March 29, 2021, after prodding from Shin and after a presentation in which Shin’s counsel
  outlined the over-collection issue, the government provided Shin with a list of the cryptocurrency
  seizures up through that date. See Exhibit L at 5-6.



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         The government has also been inconsistent about providing Shin with an ability to

  challenge the government’s seizures. The government has sent Shin to date only a single “Notice

  of Seizure of Property” form. See Exhibit N (forfeiture notice of seizure dated January 13, 2021).

  This form, dated January 13, 2021, informed Shin that the government had seized from him 275

  ETH (seized on December 1, 2020), 20,167 ICX from Binance (seized on December 8, 2020),

  and 149,999 from Kraken (seized on December 1, 2020). The Notice of Seizure further provided

  that forfeiture of those assets was being initiated pursuant to civil asset forfeiture laws, including

  18 U.S.C. § 981(a)(1)(A) (seizure of property involved in money laundering transactions) and 18

  U.S.C. § 983 (civil forfeiture proceedings). Shin promptly filed a Claim of Ownership with the

  FBI. See Exhibit O (February12, 2021, letter to FBI).

         Although the government seized additional related crypto-assets on January 25 and 29,

  February 2, March 11 and 15, and April 4, 5, 11, and 15, 2021, Shin has not been provided with

  any additional notices of forfeiture, nor has he been served with any judicial asset forfeiture legal

  process. See Exhibit P (April 21, 2021, letter). And while the government prosecutors initially

  indicated to the defense that they would file civil forfeiture complaints on or about May 13,

  2021, in accordance with the 90-day deadline provided under the law, see 18 U.S.C. § 983(a)(3),

  on May 11, 2021, the government informed the defense that it had moved the previous day for an

  extension of time to file a complaint.12 This gamesmanship has prejudiced Shin, because without

  notice or a complaint he is unable to challenge the government’s seizures.




  12
    The government did not inform Shin, prior to filing for an extension, that it intended to seek an
  extension. Nor does Shin believe that the government can show the requisite “good cause”
  needed to obtain an extension. See 18 U.S.C. § 983(a)(3). Shin requests, as part of this motion,
  an ability to challenge the government’s ex parte motion seeking an extension of time.



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         G.      Government Interactions with Shin’s Counsel

         Counsel for Shin has conferred with the assigned federal prosecutors from this District on

  multiple occasions over the past few months. See, e.g., Exhibit L (email exchange with

  government). During that time period, counsel for Shin has made formal presentations to the

  government on two occasions; those presentations have focused on, inter alia, why Shin could

  not have committed a federal crime, the deficiencies in the seizure warrants, and how numerous

  other individuals (including some close to ICON) also obtained ICX tokens through the Revision

  9 Bug (prior to Shin) but that those individuals were not labeled “attackers” by ICON and they

  were allowed to keep their ICX.

         In addition, counsel for Shin has requested various basic information, such as complete

  copies of the seizure warrants, the seizure warrant returns, and the seizure warrant affidavit.

  Counsel for Shin has also requested the return of the “over-collected” crypto-assets. See Exhibit

  P. The government has declined to return any of Shin’s crypto-assets. With the exception of the

  documents mentioned above, the government also has not provided Shin with the requested

  filings and, as noted, has not even consistently provided him with notice of his asset seizures. As

  of today, approximately six months after the government obtained a dozen seizure warrants, not

  only has Shin not been charged with any crimes, but he does not even know what federal

  criminal statute the government claims he violated to secure the warrants that resulted in the

  seizure of millions of dollars’ worth of crypto-assets, or when he will be able to challenge the

  government’s seizures. Accordingly, this motion, pursuant to Fed. R. of Crim. P. Rule 41(g) and

  the Fifth Amendment’s due process clause, as articulated in United States v. $8,850 in U.S.

  Currency, 461 U.S. 555 (1983), now follows.




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                                      III.      ARGUMENT

         A.      The Government Must Return the Seized Crypto-Assets to Shin.

         Shin did not commit a crime, and the seized crypto-assets were not the proceeds of any

  crime. Accordingly, under Rule 41(g) and the Fifth Amendment’s due process clause, the

  Government must return the seized crypto-assets to Shin.

         The Government seized millions of dollars’ worth of crypto-assets that were “minted

  from the ether” as a result of ICON’s Revision 9 Bug. These seizures began in November 2020,

  shortly after Shin publicly sued ICON. Nearly six months have now passed—a period of time

  that, in the world of volatile and rapidly appreciating crypto-assets, has significantly prejudiced

  Shin’s ability to benefit from his ownership over the seized tokens. Shin has not been charged

  with any crimes, no civil forfeiture complaints have been filed, and no definitive date for the

  filing of any complaints has been set. In fact, since Shin filed a claim to his seized property in

  February 2021, the government has stopped even providing him with formal notices of these

  seizures, which also delays his ability to challenge them. And most importantly, despite repeated

  requests by Shin’s counsel, the government will not even disclose what underlying criminal

  statute Shin purportedly violated that resulted in the seizures of his crypto-assets. Shin is left

  only to speculate as to what he did to violate federal law.

         The reasonable conclusion to draw is that the government has refused to provide Shin

  with the basics to challenge the seizures—i.e., the seizure warrant affidavits or, at minimum, a

  description of the statutes that Shin allegedly violated—because his actions did not amount to a

  crime under any federal law, and therefore, the seized property were not unlawful proceeds.

         The actions Shin undertook on August 22, 2020, are not in dispute. ICON released the

  Revision 9 network proposal with a bug that allowed individuals, including Shin, to mint ICX by

  using, as ICON intended, the SetDelegation protocols to stake and unstake ICX. Many other



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  individuals also took advantage of this bug. At no time did Shin, or any other person to the best

  of Shin’s knowledge, manipulate source code, hack, or unlawfully enter ICON’s computer

  networks. Moreover, as has been clear since August 2020, and as ICON has admitted in court,

  the ICX Tokens that Shin and others obtained were not the property of ICON or anyone else. See

  Exhibit H (excerpts from transcript of oral argument)). Instead, as ICON’s counsel has stated,

  these tokens were created out of the “ether.” Id.

         Given that Shin interacted with a computer network as it was intended by ICON to be

  interacted with, it is evident that Shin broke no laws, and that the resultant ICX tokens were not

  the proceeds of any federal crime. While Shin can only speculate as to what law the government

  told the magistrate it had probable cause to believe Shin violated, the most obvious statutes are

  simply inapposite. One such statute is the Computer Fraud and Abuse Act, 18 U.S.C. §

  1030(a)(2)(c), which prevents an individual from accessing a computer without authorization or

  exceeding his or her authorized access. In this case, of course, ICON allowed Shin and everyone

  else to use its network to obtain ICX tokens. These individuals therefore did not access ICON’s

  Network without authorization. Just as fundamental, Shin did not “exceed” his “authorized

  access” because at no point did he “obtain or alter” information that he was not “allowed to see

  for any purpose,” i.e. through hacking or source code or password manipulation. See Cloudpath

  Networks v. SecureW2 BV, 157 F. Supp. 3d 961, 983 (D. Colo. 2016) (holding that the term

  “exceeds authorized access” in “the CFAA does not impose criminal liability on individuals who

  are authorized to access company data but do so for disloyal purposes; it applies only to




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  individuals who are allowed to access a company computer and use that access to obtain data

  they are not allowed to see for any purpose”).13

         In United States v. Kane, 11-cv-22-MMD-GWF, Dkt. 86 (D. Nev. Oct. 15, 2012), a

  Magistrate judge sitting in the District of Nevada considered a similar case, in which the

  defendants played a video poker machine and, because of a series of programming errors that the

  defendants discovered, obtained a “second jackpot.” The defendants did not physically tamper or

  manipulate the video poker machines in any way. The defendants were indicted and charged

  with violations of the CFAA for exceeding their authorized access to the machines despite the

  fact that the casino had allowed them to play video poker in the first place. The magistrate judge

  recommended that the indictment be dismissed, holding that the defendants’ conduct did not

  violate the CFAA because the CFAA does not “regulate the way individuals use the information

  which they are otherwise authorized to access.” See Exhibit Q (October 15, 2020, decision).




  13
     The circuits are split on the meaning of “exceeds authorized access” in the CFAA. The
  Supreme Court’s upcoming decision in Van Buren v. United States, 19-783 (U.S. 2020), which is
  sub judice, will likely resolve the split. Although the Tenth Circuit has not definitively ruled on
  the matter, district courts in the Circuit have narrowly interpreted the CFAA. See, e.g., Central
  Bank & Trust v. Smith, 215 F. Supp. 3d 1226, 1233 (D. Wyo. 2016) (dismissing CFAA lawsuit
  where the defendants-employees had lawful access to computer data but used it for an improper
  purpose; court ruled that while the “factual allegations suggest that the defendants’ purpose and
  intent while using their authorized access made the access unauthorized. The allegations may
  very well state a claim in the First, Fifth, Seventh, and Eleventh Circuit. However, this Court
  disagrees with that particular reading of this section of the Computer Fraud and Abuse Act and
  believes the Tenth Circuit would follow the examples set by the Second, Fourth and Ninth
  Circuit, considering the overwhelming agreement of this Court’s sister districts”). Even under the
  more expansive standard followed by other courts, Shin did not exceed authorized access
  because he did not “obtain or alter information” that he was not entitled to “obtain or alter.” 18
  U.S.C. § 1030(e)(6). ICON had no terms and conditions of use for Shin to exceed; and he
  interacted with the ICON Network exactly how it was meant to be used, by staking his ICX to
  various P-Reps. The fact that ICON introduced a Bug into its own Network does not then mean
  that Shin exceeded his authorized use. He did not.




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  After the Magistrate court’s ruling, the government voluntarily dismissed the indictment. The

  same logic of that ruling applies here.

         The wire fraud statute is also inapplicable. See United States v. Lake, 472 F.3d 1247,

  1255 (10th Cir. 2007) (elements of wire fraud are a scheme to defraud, interstate wires, and use

  of wires to execute the scheme). Shin did not scheme to defraud; in fact, Shin made no

  representations (or misrepresentations) to anyone at all during his interactions with the ICON

  Network. Moreover, given that the ICX tokens at issue belonged to no one when Shin obtained

  them, Cleveland v. United States, 531 U.S. 12 (2000), bars application of federal fraud statutes to

  his conduct. See id. at 15 (“It does not suffice, we clarify, that the object of the fraud may

  become property in the recipient’s hands; for purposes of the mail fraud statute, the thing

  obtained must be property in the hands of the victim.”) (emphasis added). Similarly, because the

  statute concerning interstate transportation of stolen property applies only to property that has

  been stolen, converted or taken by fraud, 18 U.S.C. § 2314, the fact that no one owned the ICX

  prior to when it was made “out of the ether” renders that statute inapplicable as well.14

         Where the undisputed facts thus reveal that Shin committed no crime, it is unclear on

  what basis the Magistrate judge issued seizure warrants for the crypto-assets at issue. The only

  logical conclusion is that the FBI Agent’s affidavits in support of the seizure warrants simply

  parroted ICON’s false version of events, as set forth in its Medium post (see Exhibit E), which

  falsely accused Shin of being an “attacker” who acquired “stolen” crypto-assets. The Special



  14
    Although the Notice of Forfeiture stated that forfeiture had been initiated pursuant to 18
  U.S.C. § 981(a)(1)(A), the civil asset forfeiture statute that provides for the forfeiture of monies
  involved in money laundering, money laundering criminalizes financial transactions involving,
  as applicable here, the proceeds of specified unlawful activity. Here, because there was no
  underlying specified unlawful activity, such as wire fraud or violations of CFAA, there was no
  money laundering. See Lake, 472 F.3d at 1260 (because the government failed to prove the
  specified unlawful activity listed in the indictment, there was no money laundering).



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  Agent must not have engaged in sufficient independent investigation or search for corroborating

  evidence, because there is none. This conclusion is buttressed by the fact that the prosecutors

  assigned to the case still refuse to release the affidavit to the defense, despite having seized

  millions of dollars’ worth of crypto-assets.

         The crypto-assets at issue were seized unlawfully because the Agent’s affidavit was

  incorrect. Shin did not intrude into ICON’s network, and he did not take anyone else’s property.

  ICON itself does not dispute those facts. And because Shin cannot otherwise challenge the

  seizures, Federal Rule of Criminal Procedure 41(g), which provides that a person “aggrieved by

  the government’s unlawful seizure or deprivation of property” can “move for the property’s

  return,” commands the transfer of the seized crypto-assets to him. In re Search of 2847 East

  Higgins Road, Elk Grove Village, Ill., 390 F.3d 964, 965 (7th Cir. 2004) (reversing denial of

  Rule 41(g) motion, holding that motion should have been granted “as soon as the government

  realized that the currency had no evidentiary value and was not the fruit of a crime”).

         The government’s initiation of civil asset forfeiture or return of a criminal indictment

  with a forfeiture charge may moot a Rule 41(g) motion, see, e.g., CFK LLC v. United States, 324

  F.R.D. 236, 238 (D. Utah 2018), but the government has yet to file either a civil or criminal

  complaint, and are in fact actively delaying doing so. This Court also has the authority to grant

  the relief Shin seeks under the Fifth Amendment’s due process clause, pursuant to which courts

  must examine the length and reason for the government’s delay in moving to forfeit assets;

  affirmative steps a claimant has taken to secure the return of her property; and the extent to

  which a claimant has been prejudiced by the delay. See United States v. $8,850 in U.S. Currency,

  461 U.S. 555, 565-69 (1983).




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         These factors all favor Shin. First, it has been nearly six months since the issuance of the

  seizure warrants, and the government has neither charged Shin with a crime nor filed a civil

  forfeiture action. In fact, the government cannot even articulate to Shin what statute he violated.

  As such, there is no articulable reason why the government has failed to move forward towards

  forfeiture or, conversely, released the assets to Shin. Second, Shin has repeatedly asked for his

  property back, and he has filed this motion to facilitate that process. And third, Shin has been

  prejudiced by the government’s seizure of his crypto-assets. Crypto-assets, unlike fiat currency,

  are a highly volatile asset and experts in the field routinely trade and invest in crypto-assets to

  maximize returns. The government’s seizure of Shin’s crypto-assets has prevented Shin—an

  experienced crypto-asset trader—from using his assets in this manner, and he will continually be

  prejudiced going forward as the government delays resolution of this matter.

         Finally, if the seized crypto-assets are not to be returned to Shin at this time, this Court

  should compel the government to disclose the underlying affidavits filed in furtherance of the

  seizure warrants in order to enable him to move this court for a suppression hearing pursuant to

  Franks v. Delaware, 438 U.S. 154 (1978). Shin has shown that he has not committed a federal

  crime and that any affidavit alleging a federal crime would have had to have contained material

  falsities, such as a false description of how he interacted with the ICON Network, and would

  have omitted material exculpatory information, such as the information contained in his prior

  publicly filed lawsuit. See United States v. Herrara, 782 F.3d 571, 573 (10th Cir. 2015) (“Under

  Franks, a Fourth Amendment violation occurs if (1) an officer’s affidavit supporting a search

  warrant application contains a reckless misstatement or omission that (2) is material because, but

  for it, the warrant could not have lawfully issued.”). In addition, the statements supporting the

  affidavit were, at minimum, made recklessly. Shin had sued ICON publicly nearly one month




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  prior to the seizure warrants, see Exhibit G (complaint filed Oct. 20, 2020), and in his complaint

  explained not only how he had lawfully come into possession of the ICX token, but also how

  ICON had chosen to false label him as an “attacker” who had “stolen” funds even though no

  attack or theft had occurred. If this public information were included in the request for the

  seizure warrants, a neutral and detached magistrate would not have issued the requested

  warrants.

         B.      If the Government Is Not Obligated to Return the Seized Crypto-Assets to Shin, a
                 Probable Cause Hearing Is Warranted.

         Although the Magistrate judge issued warrants to seize only specific crypto-assets, in

  another error, the FBI demanded that the exchanges liquidate entire crypto-asset accounts. This

  resulted in the significant overcollection of crypto-assets by the government, beyond the bounds

  of the seizure warrants. Shin has repeatedly demanded that the over-collected crypto-assets be

  returned to him, but the government has refused, instead likening the over-collected crypto-assets

  seized from exchanges to crypto-assets that the agent simply found “on the ground.” See Exhibit

  L (March 29, 2021, email at 5). In short, these specific crypto-assets, detailed above, have now

  been held by the government for months without any judicial probable cause determination.

         Shin has brought this issue to the attention of the government on multiple occasions, most

  recently in an April 21, 2021 letter. See Exhibit P. In that letter, Shin reminded the government

  about the overcollection, pointed out how and why a warrant should have been obtained, and

  again demanded the return of the crypto-assets. As of the date of this filing, the government has

  not responded to that letter, returned any crypto-assets to Shin, or, to the best of Shin’s

  knowledge, obtained a warrant to cover the over-collected crypto-assets (except for possibly a

  second warrant issued for Binance.US, a copy of which has not been provided to Shin). Such a

  seizure is improper under the Fourth Amendment. Id. Accordingly, Shin requests that a probable




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  cause hearing be held at which a Magistrate judge can determine whether probable cause existed

  at the time of the seizure to seize the “over-collected” crypto-assets not specified in the warrants.

  See, e.g., United States v. Cosme, 796 F.3d 226, 233-34 (2d Cir. 2015) (warrantless seizure based

  on probable cause and exigent circumstances does not justify holding property without a post-

  seizure judicial determination of probable cause).

                                     IV.      CONCLUSION

         Mark Shin respectfully requests, for the reasons set forth above, that this Court order the

  government to return the seized crypto-assets to him, either pursuant to Fed. R. Crim. P. Rule

  41(g) or the Fifth Amendment’s due process clause. In the alternative, Shin requests that he be

  provided with a copy of the affidavit(s) submitted by the government to obtain the seizure

  warrants and be permitted to file a suppression motion pursuant to Franks v. Delaware after he

  has obtained the requisite discovery. Finally, with respect to the “over-collected” crypto-assets

  seized without a warrant, in the event that that the crypto-assets are not returned to him pursuant

  to Rule 41(g) or the due process clause, Shin requests an immediate probable cause hearing.

         DATED: May 12, 2021




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                                                        Respectfully Submitted,


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                                                        Counsel for Mark Shin



                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 12, 2021, I electronically filed the foregoing Mark Shin’s

  Motion Pursuant to Fed. R. Crim. Pro. 41(g) and the Fifth Amendment to the United States

  Constitution for the Return of Property or for a Probable Cause Hearing with the Clerk of the

  Court via email address newcases@cod.uscourts.gov, and via U.S. Mail/email to the following:

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         Asset Recovery Division, Chief
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                                                                  /s/ Holly Rogers




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